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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 IN RE BROILER CHICKEN ANTITRUST                   Case   No. 1 :16-cv-08637
 LITIGATION

 This Document Relates To:

 Commercial and Institutional Indirect
 Purchaser Plaintiffs



 ORDER PRELIMINARILY APPROVING PROPOSED SETTLEMENT BETWEEN
COMMERCIAL AND INSTITUTIONAL INDIRECT PURCHASER PLAINTIFF CLASS
 AND FIELDALE FARMS CORPORATION AND CONDITIONALLY CERTIFYING
                THE PROPOSED SETTLEMENT CLASS

       THIS CAUSE came before the Court on the Commercial and Institutional Indirect

Purchaser Plaintiff Class's Motion for Preliminary Approval of Settlement with Fieldale Farms

Corporation And For Conditional Certification Of The Proposed Settlement Class. Commercial

and Institutional Indirect Purchaser Plaintiff Class ("Plaintiffs") have entered into a Settlement

Agreement with Defendant Fieldale Farms Corporation ("stelling Defendant"              or   "Fieldale

Farms"). The Court, having reviewed the Motion, its accompanying memorandum, and the

exhibits thereto, the Settlement Agreement, and the file, and for the additional reasons as stated in

Open Court on February 13,2019, hereby:

       ORDERS AND ADJUDGES:

                         Preliminary Approval of Settlement Agreement

       1.      This Court has jurisdiction over this action and each of the parties to the Settlement

Agreement. Upon review of the record, the Court finds that the proposed Settlement Agreement,

which was arrived at by arms-length negotiations by highly experienced counsel, falls within the

range of possible approval and is hereby preliminarily approved, subject to further consideration
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at the   Court's Fairness Hearing. The Court preliminarily finds that the Settlement encompassed by

the Settlement Agreement is preliminarily determined to be fair, reasonable, adequate, and in the

best interest of the Class, raises no obvious reasons to doubt its fairness, and raises a reasonable

basis for presuming that the Settlement and its terms satisfy the requirements of Federal Rules        of

Civil Procedure 23(c)(2)        and 23(e) and due process so that Notice      of the Settlement should be

given.

                                              Class Certification.

             2.      This Court certifies a Settlement Class defined as:

             All entities who indirectly purchased Broilers from Defendants or co-
             conspirators in the United States during the Class Period for their own use
             in commercial food preparation, including institutional purchasers such as
             hospitals, nursing homes, and schools.

             Specifically excluded from this Class are: (a) natural persons who
             purchased Broilers for their personal use and not for commercial Food
             preparation (End-User Consumers); (b) purchasers of Broilers directly from
             Defendants; (c) purchasers of Broilers for resale in unaltered form; (d)
             purchasers of value added products containing Broilers, that are not
             manufactured, supplied or processed by Defendants, or otherwise not under
             the control of Defendants; (e) the Defendants; (f) the officers, directors or
             employees of any Defendant; (g) any entity in which any Defendant has a
             controlling interest; and any affiliate, legal representative, heir or assign of
             any Defendant; (h) any federal, state governmental entities, any judicial
             officer presiding over this action and the members of histrer immediate
             family and judicial staff; (i) any juror assigned to this action; and O any
             Co-Conspirator identified in this action.

             The Court appoints the law firms of Gustafson Gluek PLLC, and Cotchett, Pitre &

McCarthy, LLP as co-lead counsel for the Settlement Class.

                                      Class Notice and Fairness Hearing

         '   3.     Co-Lead Counsel for Plaintiffs shall submit for the Court's approval a Motion to

Approve a Plan of Notice of Settlement for this and any other settlements at an appropriate time

prior to moving for final approval of the Fieldale Settlement Agreement.
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       4.      Co-Lead Counsel and their designees are authorized to expend funds from the

escrow accounts to pay taxes, tax expenses, notice, and administration costs as set forth in the

Settlement Agreement at appropriate times.

       5.      Co-Lead Counsel shall identifu a date in consultation with the Court for the Final

Approval Hearing concerning the Fieldale Farms Settlement Agreement and any other Settlement

Agreements included in the Plan of Notice.

                                         Other Provisions

       6.      Terms used in this Order that are defined in the Settlement Agreement are, unless

otherwise defined herein, used as defined in the Settlement Agreement.

       7   .   In aid ofthe Court's jurisdiction to implement and enforce the proposed Settlement,

as of the date of entry of this Order, Plaintiffs and all members of the Class shall be   preliminarily

enjoined from commencing or prosecuting any action or other proceeding against the Settling

Defendant asserting any of the Claims released in Section II(B) of the Settlement Agreement

pending final approval of the Settlement Agreement or until such time as this Court lifts such

injunction by subsequent order.

       8.      If the Settlement Agreement is terminated in accordance with its provisions, or is

not approved by the Court or any appellate court, then the Settlement Agreement and all

proceedings in connection therewith shall be vacated, and shall be null and void, except insofar as

expressly provided otherwise in the Settlement Agreement, and without prejudice to the status quo

ante rights of Plaintiffs, the Settling Defendant, and the members of the Class.

       9.      If the Settlement Agreement is terminated or is ultimately not approved, the Court

will modiff any existing scheduling orders as necessary to ensure that the Plaintiffs and Settling

Defendant will have sufficient time to prepare for the resumption of litigation
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IT IS SO ORDERED.




                                     HON. THOMAS M. DU
                                     UNITED STATES DISTRICT COURT JUDGE
